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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,                            Civil Case No. 1:20-cv-03010
                                 Plaintiffs,                 Hon. Amit P. Mehta
                      v.
GOOGLE LLC,
                                 Defendant.


STATE OF COLORADO, et al.,                                   Civil Case No. 1:20-cv-03715
                                 Plaintiffs,                 Hon. Amit P. Mehta
                      v.
GOOGLE LLC,
                                 Defendant.


                        MOTION FOR ADMISSION PRO HAC VICE OF
                                BENJAMIN J. HORWICH

          Pursuant to Rule 83.2(d) of the Local Rules of this Court, Donald B. Verrilli, Jr.,

undersigning sponsoring counsel, respectfully moves this Court for the admission pro hac vice of

Attorney Benjamin J. Horwich, of Munger, Tolles & Olson LLP, to represent Defendant in the

above-captioned case. The movant, Donald B. Verrilli, Jr., is a member in good standing of the

United States District Court for the District of Columbia and has entered his appearance in this

matter.

          This motion is accompanied by a declaration from Benjamin J. Horwich, attached hereto

as Exhibit A, providing the information required by Rule 83.2(d). A [Proposed] Order is

attached hereto as Exhibit B.
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Dated: June 3, 2025             Respectfully submitted,


                                /s/ Donald B. Verrilli, Jr.
                                Donald B. Verrilli, Jr.
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                                Washington, DC 20001
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                                Attorney for Google LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 3, 2025, I electronically filed the foregoing MOTION FOR

ADMISSION PRO HAC VICE OF BENJAMIN J. HORWICH with the Clerk of the Court

using the CM/ECF system which will send notification of such filing to all registered

participants.



                                                /s/ Donald B. Verrilli, Jr.
                                                Donald B. Verrilli, Jr.




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